Case 3:20-cv-00079-LL-RBM Document 27 Filed 03/22/21 PageID.151 Page 1 of 8


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  8
                           UNITED STATES DISTRICT COURT
  9
                        SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   TREMAYNE CARROLL,                ) Case No.: 3:20-CV-00079-BAS-RBM
      CDCR # H-73384,                  )
 12                  Plaintiff,        ) THIRD AMENDED COMPLAINT
 13                                    ) FOR VIOLATION OF CIVIL
             v.                        ) RIGHTS UNDER 42 U.S.C. § 1983
 14                                    )
 15    C/O TOELE and DOES 1–50,        ) Demand for Jury Trial
       inclusive,                      )
 16                   Defendants.      )
 17                                    )
      ________________________________ )
 18

 19         Plaintiff, Tremayne Carroll, by counsel, alleges as follows:
 20                                   INTRODUCTION
 21         This actions arises from the despicable and inhumane treatment of a
 22   wheelchair-bound inmate in the California Department of Corrections and
 23   Rehabilitation state prison system over the course of more than 50 hours.
 24                            JURISDICTION AND VENUE
 25         1.     This action arises under 42 U.S.C. § 1983, conferring jurisdiction
 26   upon this Court under 28 U.S.C. § 1343.
 27         2.     A substantial part of the events or omissions giving rise to Plaintiff’s
 28   claims occurred in San Diego County, which is within this Court’s judicial district,


                                    Third Amended Complaint
                                              1
Case 3:20-cv-00079-LL-RBM Document 27 Filed 03/22/21 PageID.152 Page 2 of 8


  1   making venue proper in the Southern District of California pursuant to 28 U.S.C. §
  2   1391(b).
  3                                        PARTIES
  4         3.     Plaintiff, Tremayne Carroll (“Carroll” or “Plaintiff”), was a prisoner
  5   at the Richard J. Donavan Correctional Facility in San Diego County, California, at
  6   the time of the conduct giving rise to this lawsuit. Carroll presently resides in
  7   Amador County, California, as an inmate at Mule Creek State Prison.
  8         4.     Defendant, Franklin T. Toele (“Toele”), is being sued in his individual
  9   capacity. At all relevant times, he was employed by the state of California as a
 10   peace officer for the California Department of Corrections and Rehabilitation
 11   (“CDCR”). While engaged in the conduct described herein, Toele was acting
 12   under color of state law and within the scope of his employment as a CDCR
 13   correctional officer.
 14         5.     Plaintiff is ignorant of the true names and capacities of the Doe
 15   defendants, who are therefore sued by such fictitious names. However, Plaintiff is
 16   informed and believes that each of the fictitiously named defendants is responsible
 17   in some manner for the occurrences alleged herein, and that Plaintiff’s damages
 18   were proximately caused by said Doe defendants. The reasons these names are not
 19   yet known or ascertainable are that initial disclosures have not yet been exchanged,
 20   and Plaintiff has not yet had an opportunity to engage in other formal discovery.
 21   Further, Plaintiff has only recently retained counsel to represent him in this action.
 22   Upon ascertaining the true identifies of Does 1 through 50, Plaintiff will amend the
 23   operative pleading or seek leave to file an amended complaint as required by law.
 24                               STATEMENT OF FACTS
 25         6.     Carroll has been an inmate in the California state prison system since
 26   approximately 1999.
 27         7.     At all relevant times, Carroll, though born a male, has identified as a
 28   female. As a result, he has constantly experienced gender dysphoria. Carroll’s

                                     Third Amended Complaint
                                               2
Case 3:20-cv-00079-LL-RBM Document 27 Filed 03/22/21 PageID.153 Page 3 of 8


  1   identification as a female has at all relevant times been generally known by CDCR
  2   employees.
  3         8.     During his time in the prison system, Carroll has also been the victim
  4   of employee sexual misconduct. In particular, Carroll was victimized at the
  5   Richard J. Donavan Correctional Facility (“RJD”) on multiple dates, including, but
  6   not limited to, occurrences in 2017 or 2018 and approximately April 2019. Carroll
  7   promptly reported each incident to CDCR employees.
  8         9.     At all relevant times, including during the conduct complained of
  9   herein, Carroll used a wheelchair for mobility. He was also incontinent in that he
 10   could not control his bowels.
 11         10.    On November 27, 2019, Carroll was housed in an Administrative
 12   Segregation (“Ad-Seg”) Unit at RJD.
 13         11.    At approximately 9:00 a.m. on the morning of November 27, 2019,
 14   Defendant Toele and Defendant Jane/John Doe, a member of the medical or mental
 15   health staff, approached Carroll’s cell to provide Carroll with incontinence
 16   supplies.
 17         12.    At this time, Toele was aware of Carroll’s gender identification. He
 18   was also aware that Carroll had lodged complaints of sexual misconduct against
 19   other CDCR employees, including those at RJD.
 20         13.    Outside of Carroll’s cell, Toele commanded Carroll to place his hands
 21   through the food/security port so that Toele could apply handcuffs.
 22         14.    After Carroll had been handcuffed, Toele and Jane/John Doe entered
 23   Carroll’s cell. Jane/John Doe then handed Carroll the incontinence supplies, which
 24   included wipes, diapers and tape.
 25         15.    Toele and Jane/John Doe then left Carroll’s cell and closed the door
 26   behind them. When they did so, Carroll was still handcuffed.
 27         16.    Toele advised Carroll that he would be right back; however, he did
 28   not return. As a result, Carroll was left handcuffed and alone in his cell in

                                      Third Amended Complaint
                                                3
Case 3:20-cv-00079-LL-RBM Document 27 Filed 03/22/21 PageID.154 Page 4 of 8


  1   violation of CDCR policy, reflected in Department Operations Manual No.
  2   51020.6, which dictates that “[r]estrained inmates shall never be left
  3   unsupervised.”
  4         17.    After it had become apparent to Carroll that Toele was not going to
  5   promptly return, Carroll began pounding on his cell door for help. No one
  6   responded.
  7         18.    Carroll was left handcuffed and alone in his cell from that morning
  8   until the afternoon of November 29, 2019—a period of more than 50 hours.
  9         19.    During the more than two days that he was restrained, Carroll was
 10   unable to avoid urinating and defecating on himself. He suffered tremendous
 11   physical pain and mental anxiety attempting to “hold it,” hoping someone would
 12   come to his aid.
 13         20.    Before Carroll urinated and defecated on himself over the course of
 14   more than 50 hours, he attempted to use the toilet. Following his “accidents,” he
 15   also attempted to perform basic personal hygiene and clean himself. However,
 16   because he was handcuffed and confined to a wheelchair, he was unsuccessful in
 17   performing these tasks. In the process of these attempts, Carroll fell out of his
 18   wheelchair on numerous occasions, causing further physical pain and mental
 19   anguish.
 20         21.    During the more than 50 hours that Carroll was left handcuffed and
 21   alone in his cell, dozens of Doe Defendant correctional officers and
 22   medical/mental health staff passed by Carroll’s door. The correctional officers and
 23   other staff members did so in the process of performing security and welfare
 24   checks.
 25         22.    During these checks, Doe Defendant officers peered through Carroll’s
 26   cell window and saw that he was restrained and alone in a wheelchair. Carroll
 27   informed the officers that Toele had left him handcuffed in the cell. The officers
 28   refused to remove the handcuffs.

                                    Third Amended Complaint
                                              4
Case 3:20-cv-00079-LL-RBM Document 27 Filed 03/22/21 PageID.155 Page 5 of 8


  1         23.    While Carroll was restrained and alone, Doe Defendant mental
  2   health/medical staff members came to Carroll’s cell door to check on his well-
  3   being and to administer medication. Carroll verbally informed and visually
  4   showed the staff members that he had been handcuffed and left alone in his cell.
  5   Further, he informed them that this had been the case since the morning of
  6   November 27. However, the staff members refused to take any steps to have
  7   Carroll released; they claimed they did not want to get involved.
  8         24.    On November 29, 2019, Carroll wrote on a piece of paper that he had
  9   been restrained and was being retaliated against. He then placed the paper in his
 10   cell door window, making it visible to anyone who walked by.
 11         25.    A CDCR employee eventually came to Carroll’s cell, saw the note
 12   and had Carroll removed and placed in a cage in a dayroom while investigation of
 13   the matter ensued.
 14         26.    The conduct complained of herein directly and proximately caused
 15   Carroll’s injuries, including physical pain, mental suffering and emotional distress.
 16         27.    Defendants, without penological justification and in violation of
 17   CDCR policy, allowed this disabled inmate to remain handcuffed and alone in his
 18   cell for more than two days. Carroll was left helpless, wallowing in his own urine
 19   and feces for in excess of 50 hours. The conduct of Defendants was intended to
 20   cause injury to Carroll. The conduct was also despicable and carried out with a
 21   willful and conscious disregard for Carroll’s rights. Further, it subjected him to
 22   cruel and unjust hardship in conscious disregard of those rights.
 23                            FIRST CLAIM FOR RELIEF
 24                                  42 U.S.C. § 1983
                        Deprivation of Eighth Amendment Right to
 25                Protection from Inhumane Conditions of Confinement
 26                              (Against All Defendants)

 27         28.    Plaintiff incorporates by reference the allegations contained in

 28   paragraphs 1 through 27 as though fully set forth herein.


                                    Third Amended Complaint
                                              5
Case 3:20-cv-00079-LL-RBM Document 27 Filed 03/22/21 PageID.156 Page 6 of 8


  1         29.     Defendants acted under color of state law while engaged in the
  2   conduct complained of herein. Their acts and failures to act deprived Carroll of his
  3   rights under the Eighth Amendment to the United States Constitution.
  4         A.      Defendant Toele
  5         30.     Carroll faced a substantial risk of serious harm when he was
  6   restrained by Toele and left handcuffed and unattended in his cell for more than
  7   two days. The risk of harm to Carroll arose from the creation by Toele of
  8   inhumane conditions and the deprivation of basic health, hygiene and safety needs.
  9         31.      Toele used his own handcuffs to restrain Carroll. Further, Toele
 10
      was responsible for the supervision of Carroll, while restrained, and for retrieving
 11
      the handcuffs. As a result, Toele knew of the substantial risk of serious harm and
 12
      disregarded that risk by failing to take reasonable measures to address it, e.g., by
 13
      removing the handcuffs from Carroll on November 27, 2019, or at any time
 14
      thereafter.
 15
            32.     Toele’s wanton and unnecessary conduct was completely without
 16
      penological justification.
 17
            33.     The conduct of Toele caused Carroll to suffer the harm described
 18
      herein, including the mental and physical pain and suffering that accompanied
 19
      Carroll’s unsuccessful attempts to avoid urinating and defecating on himself.
 20
            B.      Jan/John Doe Defendants – Failure to Intercede
 21
            34.     Every Jane and John Doe Defendant saw that Carroll was in his cell,
 22
      unrestrained and alone. Some of these defendants were expressly informed by
 23
      Carroll that Toele had restrained him and left him alone in retaliation for reporting
 24
      employee sexual misconduct.
 25
            35.     Jane and John Doe Defendants each had a duty and realistic
 26
      opportunity to intervene so as to have Carroll’s restraints removed and to end the
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                                     Third Amended Complaint
                                               6
Case 3:20-cv-00079-LL-RBM Document 27 Filed 03/22/21 PageID.157 Page 7 of 8


  1   deprivation of Carroll’s right to minimal civilized measures of the necessities of
  2   life.
  3           36.   Jane and John Doe Defendants, through their omissions, actually and
  4   proximately caused the harm described herein to Carroll.
  5                            SECOND CLAIM FOR RELIEF
  6                                   42 U.S.C. § 1983
              Deprivation of First Amendment Right to Be Free from Retaliation
  7                                    (Against Toele)
  8           37.   Plaintiff incorporates by reference the allegations contained in
  9   paragraphs 1 through 36 as though fully set forth herein.
 10           38.   Toele acted under color of state law while engaged in the conduct
 11
      complained of herein. His acts and failures to act deprived Carroll of his rights
 12
      under the First Amendment to the United States Constitution.
 13
              39.   Carroll was engaged in constitutionally protected conduct when he
 14
      complained of and reported the alleged sexual misconduct of RJD officers.
 15
              40.   Carroll’s history of complaints was widely known among RJD
 16
      employees, including by Toele.
 17
              41.   The unsupervised restraint of Carroll was because of Carroll’s
 18
      protected conduct.
 19
              42.   Handcuffing a wheelchair-bound Carroll and leaving him alone in his
 20
      cell for more than 50 hours would chill a person of ordinary firmness from
 21
      exercising his First Amendment rights.
 22
              43.   Toele’s conduct did not reasonably advance a legitimate penological
 23
      goal.
 24
              44.   The harm to Carroll described herein was actually and proximately
 25
      caused by Toele’s unlawful retaliation.
 26
      ///
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      //
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                                     Third Amended Complaint
                                               7
Case 3:20-cv-00079-LL-RBM Document 27 Filed 03/22/21 PageID.158 Page 8 of 8


  1                                 PRAYER FOR RELIEF
  2            WHEREFORE, Plaintiff, Tremayne Carroll, by counsel, prays for judgment
  3   in his favor and against Defendants as follows:
  4            A.   For general and special damages in an amount according to proof at
  5   trial;
  6            B.   For punitive damages in an amount sufficient to punish and deter;
  7            C.   For pre-judgment interest as allowed by law;
  8            D.   For costs and attorney’s fees; and
  9            E.   For such other relief as the Court deems just and proper.
 10

 11
      Dated: March 22, 2021                         PICCUTA LAW GROUP, LLP
 12

 13                                                 _____/s/ C.T. Piccuta___________
 14                                                 Charles Tony Piccuta
                                                    Attorneys for Plaintiff
 15                                                 Tremayne Carroll
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                                     Third Amended Complaint
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